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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION

VERSUS                                                       18-12

BRANDON TURNER                                               SEC. "A" MAG. 5



                                        ORDER

      Upon request of the defendant, the Court hereby issues a clarification of sentence.

      Accordingly,

      IT IS ORDERED that the Defendant Brandon Turner be given credit for time

served from the date of his arrest on August 3, 2017.

      IT IS FURTHER ORDERED that the sentence in the above captioned matter run

CONCURRENT to his sentence in case number 2:10-cr-197-G

      New Orleans, Louisiana, Tuesday, April 16, 2019.



                                                ______________________________
                                                Judge Jay C. Zainey
                                                United States District Court
